                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff


 vs.                                              CRIMINAL NO.: 21-077 (FAB)
 TOMMY CASILLAS-NEGRON
 Defendant


         RESPONSE IN OPPOSITION TO A DETENTION DE NOVO HEARING
                         AND MOTION TO VACATE


FRANCISCO A. BESOSA
UNITED STATED DISTRICT JUDGE
DISTRICT OF PUERTO RICO

       Mr. Tommy Casillas-Negron (Mr. Casillas”), represented by the Federal Public Defender

for the District of Puerto Rico, and before the Honorable Court respectfully states and prays:

       On April 13, 2021, the prosecutor filed a motion requesting a De Novo bail hearing to

review U.S. Magistrate Judge Marshal’s D. Morgan order granting conditions of release. (Docket

No. 23). Two days after, the court granted the prosecutor’s petition and set the hearing for April

28th, 2021. (Docket No. 24) Mr. Casillas opposes to the setting of a De Novo hearing because it is

based on an impermissible factor and because there is no new evidence that would be provided to

the court.

       Magistrate Judge Marshal D. Morgan correctly applied the law and followed the

recommendation of the Probation Office in the pretrial report. The information provided by the

prosecutor as a basis for a new hearing is the same that was provided at the detention hearing. The

prosecutor relies heavily on the weight of the evidence, which by itself is an impermissible factor

limiting the presumption of evidence. 18 U.S.C. 3142(j). Furthermore, the weight of the evidence

does not equate to dangerousness to the community. No new information about Mr. Casillas
character or history is being provided and no clear and convincing evidence is being provided to

the court. Pursuant to 18 U.S.C. 3142(f) the burden is on the prosecution to provide clear and

convincing evidence that there are no combination of conditions of release that reasonably assure

the appearance of the defendant and the safety of any person and the community. The prosecutor

does not cite any case law that allows for a De Novo detention hearing and reopening the same.

The statute is clear that the reopening of the detention hearing before trial can only take place “if

the judicial officer finds that information exists that was not known to the movant at the time of

the hearing and that has a material bearing on the issue whether there are conditions of release that

will reasonably assure the appearance of such person as required and the safety of any other person

and the community.” 18 U.S.C.3142(f). See United States v. Dillon, 938 F.2d 1412 (1st Cir. 1991),

United States v. Rodriguez-Adorno, 606 F. Supp. 2d 232 (D.P.R. 2006) In its motion, the

government has not brought any information that was not known to the them at the time the

detention hearing was held. Therefore, the government’s request to reopen the detention hearing

should be denied and the hearing set for April 28th, 2021, vacated.

       Moreover, the government makes arguments and cites case law related to a presumption of

detention. This is not a presumption case because Mr. Casillas has never been convicted of an

offense described in 18 U.S.C. 3142(f)(1), he was not on release status when he was arrested for

the instant offense and the instant offense is not an listed in 18 U.S.C. 3142(e)(3).

       The Magistrate Judge considered the information provided by the government in this

motion and considered that Mr. Casillas is nineteen years old with a potential for rehabilitation.

He currently participates in a gypsum board installation course being provided by the Peace and


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Development Program from Taller Salud in Canóvanas. As a student he provides volunteer

community service working on the renovation of a rehabilitation center.

       In addition, if the court does not vacate the hearing, the undersigned opposes that the same

be held in presence. The Federal Public Defender’s Office has rooms available for the same to be

held by videoconference. Additional explanation related to health concerns would be submitted in

a separate restricted motion.

       WHEREFORE, it is respectfully requested that this Honorable Court take note of the

above-stated and deny the government’s petition for a De Novo hearing and vacate the same set

for April 28th, 2021.

       I HEREBY CERTIFY that on this date, I electronically filed the foregoing document with

the Clerk of the Court using the CM/ECF system, which will send notification of such filing to the

parties of record.

       RESPECTFULLY SUBMITTED.

                        In San Juan, Puerto Rico, this 20th day of April 2021.



                                                        ERIC VOS
                                                        FEDERAL PUBLIC DEFENDER
                                                        DISTRICT OF PUERTO RICO


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